I           Case 1:08-vv-00024-TCW Document 107 Filed 08/07/15 Page 1 of 2

                                               ORIGINAL
                    In tyt WLnittb states Court of Ureteral Claims
                                      OFFICE OF SPECIAL MASTERS
                                                     No. 08-24V
                                                (Not for publication)

                                                                                                       FILED
                                                        *                                            JUL 1 6 2015
    HOWARD GPvEENBERG and DENISE                        *
                                                                                                   U.S. COURT OF
    GREENBERG, parents of J.G., a minor,                *        Filed: July 16, 2015             FEDERAL CLAIMS
                                                        *


                             Petitioners,               *
                                                                 Vaccine Act; Costs
                     v.



    SECRETARY OF HEALTH AND                             *
    HUMAN SERVICES                                      *

                             Respondent.                *
                                                        *

    *************************




    Howard and Denise Greenberg, Kihei, HI pro se petitioners.
    Lynn E. Ricciardella, U.S. Department ofJustice, Washington, DC, for respondent.


                                       DECISION AWARDING COSTS


            In this case under the National Vaccine Injury Compensation Program,1 I issued a
    decision on December 8, 2014. On March 30, 2015, Petitioners, acting pro se, filed an
    application for reimbursement of their costs incurred in prosecuting their Vaccine Act petition
    before me.


            As stated in my Order filed on July 13, 2015,1 am relying upon five filings to understand
    the Petitioners' costs request: (1) Petitioners' application filed on 3-30-15, with attachments; (2)
    Petitioners' filing of 5-19-15; (3) Attorney Peck's filing of 6-8-15; (4) Attorney Peck's filing of
    6-15-15; and (5) Petitioners' filing of 6-30-15.

           As I understand the filings mentioned above, the Greenbergs sent a check to Attorney
    Peck for $4,685.00. He used most of that amount to pay an expert witness (American Medical
    Experts), but refunded $555.25 thereofto Petitioners. So, in effect, the Greenbergs seek
    $4,129.75 (that is, $4,685 less $555.25) for paying an expertwitness, plus the other small
    amounts claimed in their application filed on 3-30-15.



     The applicable statutory provisions defining the program are found at 42 U.S.C. § 300aa-10 etseq. (2006).
          Case 1:08-vv-00024-TCW Document 107 Filed 08/07/15 Page 2 of 2


       In my Order filed on July 13, 2015,1 also indicated my preliminary approval of
compensation for the $4,129.75 mentioned above, plus the other small amounts requested. In
response, on July 14, 2015, Respondent's counsel contacted my law clerk by email to report that
Respondent would not be filing an opposition to such an award. Accordingly, I will compensate
Petitioners for the following costs:

                 Filing Fee                                         $ 250.00
                 Amount paid to Attorney Peck                       $4,129.75
                 Amount paid to expert Dr. Megson                   $ 247.00
                 Mailing and Fed Ex fees (total)                    $ 722.27
                 Audio request 12/18/13                             $ 30.00

                  Total costs awarded                                $5,379.02

          An award for fees and costs is appropriate at this time, pursuant to 42 U.S.C. § 300aa-
15(b) and (e)(1). Further, the proposed amounts seem reasonable and appropriate. Accordingly,
I hereby award the following attorneys' fees and costs pursuant to 42 U.S.C. § 300aa-15(b) and
(e)(1):
                  a lump sum of $5,379.02, in the form of a check payable to Petitioners,
                  which represents Petitioners' own litigation expenses in this case.
          In the absence of a timely-filed motion for review filed pursuant to Appendix B of the
Rules of the U.S. Court of Federal Claims, the clerk of the court shall enter judgment in
accordance herewith.2

IT IS SO ORDERED


                                                                             George L. Hasting
                                                                             Special Master




2Pursuant to Vaccine Rule 11(a), theparties may expedite entry ofjudgment by filing a jointnotice renouncing the
right to seek review.
